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United States District Court

 

AO 91 (Rev. 08/09) Criminal Complaint | Southern District Of Texas
—FH-EB-
UNITED STATES DISTRICT COURT — JUN 13 2019
- for the

i , David J.
Southern District of Texas avid J. Bradley, Clerk

 

 

 

United States of America ) ™M
ve. ) q _ ZY |- |
Ramon Mendez, ur. ) Case No. m\-\ | I.
DOB: 1992, USC
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of ~ Sept. 7, 2018 in the county of Hidalgo ___ inthe
Southern _ District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC 841, 846 ‘Conspiracy to Possess with Intent to Distribute More than 500

grams of Cocaine

This criminal complaint is based on these facts: ,

See Attachment A
@ Continued on the attached sheet.

a I
Complainant’. s signature ;

Adam F. Palmer, FBI Task Force Officer

 

Printed name anggitle

  
 

Sworn to befol 1 sjgned in my presence.

 

Date:

, j : Jifage’s signature
City and state: McAllen. Texas soda Judge J. Scott Hacker

 

rinted name and title
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Attachment A

1, Adam Palmer, being first duly sworn, state as follows:

1. I, Adam Palmer, am a Task Force Officer with the Federal Bureau of Investigation
(FBD in McAllen, Texas, and have been so employed since February, 2016. J am currently
assigned to the Rio Grande Valley Safe Streets Task Force in McAllen, Texas. This affidavit is
based on information learned through the course of an investigation into an organization
committing robberies for the purpose of stealing controlled substances for further distribution.

2. As a Federal Task Force Officer, I am authorized to investigate violations of federal
laws of the United States, including violations of Title 21, United States Code, Sections 841 and
846.

3. On May 11, 2019, a search warrant was executed at an address in Edcouch, Texas.
Pursuant to the search warrant, evidentiary items were seized, including a Samsung Galaxy J3
(Hereinafter “The Device”) which was seized from within a mobile home that was on the property
and where Jimmy Lee Tamez is believed to reside.

4. A subsequent search warrant was obtained to search the Device. The information
contained with the device was forensically extracted pursuant to the search warrant in order to
review it.

5. During a search of the device, Agents located various audio messages that were
sent to the user of the Device. Specifically, Agents located a series of audio messages from an
individual (“the Individual”) from September 7, 2018 through September 8, 2018 discussing the
sale of two items to an individual coming from Tennessee beginning at approximately 1:47 p.m.
Agents then found a multimedia message from the user of the Device to the Individual of a picture
of a block of a white powdery substance pressed with a design containing the letter “K” at
approximately 2:48 p.m. on September 7, 2018. At approximately 4:11 p.m. on September 7,
2018, the Individual responded to the user of the Device in an audio recorded message requesting
a different picture of the other side of the block of the white powdery substance without the
stamped K to send to the buyers of the product so that the buyers ‘would not suspect or believe the
product to be “caliente,” which Agents know to be a slang Spanish term for an item being stolen
property. Later multimedia messages from the Individual contain pictures of large quantities of
banded currency consistent with amounts needed to purchase kilogram quantities of cocaine. In
subsequent audio recordings from the Individual to the user of the Device, the Individual that the
multimedia message represents the money that others were to use to make the purchase.

6. - Baséd on information provided/by various sources as well as law enforcement
reporting, Jimmy Lee Tamez is believed to be involved in multiple home invasions for the purpose
of stealing controlled substances.

7. During a review of the information extracted from the Device, Agents also located
a video containing a time stamp creation date of September 7, 2018 at approximately 5:28 p.m.
This video shows a male subject (later identified as Ramon MENDEZ, Jr.), with sleeve tattoos,
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seated at a table opening a package by cutting black wrapping materials off of a block of a white
substance. The there was a design stamped in the white substance which included the letter “K”.
There were also two other identical wrappings on the table near the block consistent with two
additional blocks of white powdery substance. In the audio of the video, another male subject is
talking to MENDEZ discussing a robbery, the quality of the substance, and plans to take pictures
of the substance. The background seen within the video is consistent with the trailer in which
Jimmy Lee Tamez resides and the premises in which the search warrant was executed.

8. The blocks of white powdery substance pressed with the letter K observed by. agents
is consistent with and believed to be kilograms of cocaine. Furthermore, the discussions and
multimedia messages between the user of the device and others as previously mentioned indicate
the conspiracy between Mendez and others to possess with the intent to distribute the cocaine to
- others by selling the kilograms.

o. Agents have identified the subject seen in the video referenced in paragraph 7 as.
Ramon Mendez, Jr. based on interviews and prior jailing photos.

- of-—
pete
Adan Palmer

Task Force Officer —

Federal Bureau of Investigation

Sworn to and subscribed before me this 13 day of June, 2019.

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Hon JA gott/dacker
UpftedAtatés Magistrate Judge

 
